          10-14579-brl        Doc 11     Filed 09/07/17 Entered 09/07/17 04:31:01               Amended
                                       Discharge Final Decree Pg 1 of 1
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−X
In Re:                                                                      CHAPTER 7
Jin Yun Wang                                                                CASE NO.: 10−14579−brl

                       Debtor(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−X


                     AMENDED DISCHARGE OF DEBTOR ORDER OF FINAL DECREE



         It has been brought to the Court's attention that the Discharge of Debtor Order of Final Decree entered

in this case on November 30, 2010 was not in compliance with The Bankruptcy Abuse Prevention and Consumer

Protection Act of 2005 due to a clerical error; and the Debtor having been required to comply with the Bankruptcy

Code in effect at the time the discharge order was entered, see Commissioner of Administrative Services

v. Spell (In re Spell), 650 F.2d 375, 377 (2d Cir. 1981); it is hereby


         ORDERED that pursuant to the power of this Court under 11 U.S.C. § 105(a) and Rule 60(a), which states

that "[t]he court may correct a clerical mistake or mistake arising from oversight or omission whenever one is found

in a judgment, order, or other part of the record. The court may do so on motion or on its own, with or without

notice;" and is made applicable to bankruptcy cases under Federal Rule of Bankruptcy Procedure 9024, the order

entered by the Court on November 30, 2010 is amended nunc pro tunc to comply with the Bankruptcy Code in effect

at the time the discharge order was entered.




Dated: September 7, 2017
       New York , New York                                                /s/ Cecelia G. Morris
                                                                          Hon. Cecelia G. Morris
                                                                          Chief U.S. Bankrupty Judge


         *Inquiries concerning this order may be directed to the Clerk's Office, at 212−668−2870.
